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                                   Exhibit C to Disclosure Statement
                              Tradeways’ Active / Pending Transactions


      The following is schedule of active orders and orders in the Pipeline. Tradeways has
been working on the majority of these transactions for years.
Customer1                 Product                   Approx. Gross             Timing            Probability
                                                    Profit


Public                    Mass Spectrometers $670,000                         Q12020            100%2
Public                    Mass Spectrometers $518,126                         2020              100%3
Public                    Mass Spectrometers $1,462,944                       2021              100%4
Public                    Aircrew Ensemble          $1,000.000                2020              80%5
                          F15/F16

Public                    Aircrew Ensemble          $1,000,000                2024              70%
                          KFX

Public                    Detectors                 $100,000                  2020              90%

Public                    Escape Masks              $243,000                  2020              70%

Public                    Aircrew Ensemble          $1,000,000                2021-2022         50%

Public                    Detectors                 $616,000                  2020              70%

Public                    Misc. Equipment           $600,000                  2020-2021         70%

Public                    Lab Equipment             $500,000                  2020-2021         70%
                                                    $7,710,070

Tradeways also has a number of smaller transactions in the pipeline in Japan, Taiwan, Singapore,
India, Qatar, Sweden, Croatia and the Netherlands, which are expected to mature between 2021
and 2024.



1
  For confidentiality reasons, the name of the customer has been redacted and replaced with a designation as to
whether the customer is a “public” or “private” entity.
2
  The Order was received in January, 2020.
3
  The Order was placed for $518,126.00, and will be shipped in 2020.
4
  The Order was placed and will be shipped in 2021.
5
  A final meeting as scheduled in February, but was cancelled due to Covid 19 / Coronavirus.
